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     WILFREDO BALTAZAR P. E., a minor child;
14   ERENDIRA C. M.; YASMIN ALICIA M. C., a
     minor child; JOSHUA G. G.; and KARL LUIS
15   G. G., minor child
16                                 UNITED STATES DISTRICT COURT
17                                NORTHERN DISTRICT OF CALIFORNIA
18                                    SAN FRANCISCO DIVISION
19   WILBUR P. G.; WILFREDO BALTAZAR P.            Case No. 3:21-cv-4457
     E. a minor child; ERENDIRA C. M.;
20   YASMIN ALICIA M. C. a minor child;            [PROPOSED] ORDER GRANTING
     JOSHUA G. G.; and KARL LUIS G. G.             PLAINTIFFS’ ADMINISTRATIVE
21   minor child,                                  MOTION TO PROCEED UNDER
                                                   PSEUDONYMS
22                  Plaintiffs,
23             v.
24   UNITED STATES OF AMERICA,
25                  Defendant.
26

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        [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION TO PROCEED UNDER
                                        PSEUDONYMS
                                      Case No. 3:21-cv-4457
     1698953
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 1     [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION TO

 2                                 PROCEED UNDER PSEUDONYMS

 3             Upon consideration of Plaintiffs’ Administrative Motion to Proceed Under Pseudonyms,

 4   and good cause appearing therefore, the motion is GRANTED, and IT IS FURTHER ORDERED

 5   that: (a) the parties shall refer to Plaintiffs by the pseudonyms Wilbur P. G.; Wilfredo Baltazar P.

 6   E.; Erendira C. M.; Yasmin Alicia M. C.; Joshua G. G.; and Karl Luis G. G. in all filings and

 7   public proceedings and (b) the parties shall redact or otherwise withhold all personally identifying

 8   information, including Plaintiffs’ true full name and initials, from all public filings, consistent

 9   with Federal Rule of Civil Procedure 5.2.

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11             IT IS SO ORDERED.

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     Dated: June 17, 2021
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14                                                  UNITED STATES DISTRICT [MAGISTRATE]
                                                    JUDGE
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                                                1
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION TO PROCEED UNDER
                                        PSEUDONYMS
                                      Case No. 3:21-cv-4457
     1698953
